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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


POPTECH, L.P., individually, and on behalf of a
                                       )
class of others similarly situated,    )
                                       )                      CIVIL ACTION NO.:
             Plaintiff,                )                      3:10-cv-00967 (MRK)
                                       )
       v.                              )
                                       )
STEWARDSHIP CREDIT ARBITRAGE FUND, )
LLC; STEWARDSHIP INVESTMENT            )
ADVISORS, LLC; ACORN CAPITAL GROUP, )
LLC; MARLON QUAN; GUSTAVE ESCHER,      )
III; PAUL SEIDENWAR; and ROBERT BUCCI, )
                                       )
             Defendants.               )                      February 14, 2011



   DEFENDANTS STEWARDSHIP INVESTMENT ADVISORS, LLC AND MARLON
     QUAN’S MOTION TO DISMISS AMENDED CLASS ACTION COMPLAINT

       Pursuant to Federal Rules of Civil Procedure 9(b), 12(b)(1) and 12(b)(6), and the Private

Securities Litigation Reform Act of 1995 (“PSLRA”), Defendants Stewardship Investment

Advisors LLC (“SIA”) and Marlon Quan (“Quan”) respectfully move to dismiss the Amended

Class Action Complaint dated December 13, 2010.

       As set forth more fully in the attached Memorandum of Law, this Motion should be

granted for several reasons. Poptech and the putative class members lack standing to assert

claims directly against defendants SIA and Quan because the Amended Class Action Complaint

essentially alleges injury to the Stewardship Credit Arbitrage Fund, LLC (the “Fund”). These

claims can be brought only derivatively on behalf of the Fund and not directly by investors.

       Poptech’s claims under Count One must fail because it does not allege that it suffered any

loss when it converted its Class P interest in the Fund to a Class A interest. Accordingly, it fails

to state a claim under §10(b) of the Securities Exchange Act of 1934 (the “1934 Act”).


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       Indeed, all of the putative defendants’ claims must fail because they do not state a claim

under §10(b) of the 1934 Act. Plaintiffs do not meet the pleading requirements of the PSLRA

and Rule 9(b) with respect to allegedly false or misleading statements or omissions. Because the

Plaintiffs’ claims fail to state a claim under §10(b), their claims under §20(a) of the 1934 Act

must also fail because they have not adequately plead a primary violation of the 1934 Act.

       Dismissal of the federal claims should lead to dismissal of all remaining state law claims

in Counts Three and Four for lack of subject matter jurisdiction.




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       WHEREFORE, Defendants Stewardship Investment Advisors, LLC and Marlon Quan

respectfully request that this Court grant their Motion to Dismiss Plaintiffs’ Amended

Complaint.

                                     By:     /s/ Francis H. Morrison III
                                             Francis H. Morrison III (ct04200)
                                             Denise V. Zamore (ct27549)
                                             AXINN, VELTROP & HARKRIDER LLP
                                             90 State House Square
                                             Hartford, Connecticut 06103
                                             Telephone (860) 275-8100
                                             Facsimile (860) 275-8101
                                             fhm@avhlaw.com
                                             dvz@avhlaw.com


                                             David S. Smith (admitted pro hac vice)
                                             SMITH CAMPBELL, LLP
                                             110 Wall Street
                                             New York, New York 10005
                                             Telephone: 212-344-1500
                                             Facsimile: 212-344-5585
                                             Email: dsmith@sc-llp.com


                                             Attorneys for Defendants Marlon Quan and
                                             Stewardship Investment Advisors, LLC




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                                    ORDER

The foregoing Motion to Dismiss, having been duly presented to this Court, it is hereby

ORDERED:      GRANTED/DENIED.

                                        BY THE COURT



                                        _____________________________________
                                        JUDGE/Clerk




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 14, 2011, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by email to all parties by operation of the Court’s electronic filing system or by
mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF system.




                                                      /s/ Francis H. Morrison III
                                                      Francis H. Morrison III




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